                                                                       Case 1:24-bk-10646-MB          Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03     Desc
                                                                                                       Main Document    Page 1 of 26



                                                                         1 ZEV M. SHECHTMAN (Cal Bar No. 266280)
                                                                           Zev.Shechtman@saul.com
                                                                         2 SAUL EWING LLP
                                                                           1888 Century Park East, Suite 1500
                                                                         3 Los Angeles, California 90067
                                                                           Telephone: (310) 255-6100
                                                                         4 Facsimile: (310) 255-6200

                                                                         5
                                                                           Applicant as Local Counsel for Official
                                                                         6 Committee of Unsecured Creditors of Synapse
                                                                           Financial Technologies, Inc.
                                                                         7

                                                                         8
                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                         9
                                                                                  CENTRAL DISTRICT OF CALIFORNIA, SAN FERNANDO VALLEY DIVISION
                                                                        10

                                                                        11
                 1888 CENTURY PARK EAST, SUITE 1500




                                                                             In re                                         Case No. 1:24-bk-10646-MB
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12
                                                                           SYNAPSE FINANCIAL TECHNOLOGIES,                 Chapter 11
SAUL EWING LLP




                                                                        13 INC.,
                                                      (310) 255-6100




                                                                                                                           FIRST AND FINAL APPLICATION OF
                                                                        14                  Debtor.                        SAUL EWING LLP AS LOCAL
                                                                                                                           COUNSEL FOR THE OFFICIAL
                                                                        15                                                 COMMITTEE OF UNSECURED
                                                                                                                           CREDITORS FOR COMPENSATION
                                                                        16                                                 AND REIMBURSEMENT OF EXPENSES
                                                                                                                           FOR THE PERIOD MAY 7, 2024
                                                                        17                                                 THROUGH SEPTEMBER 5, 2024;
                                                                                                                           DECLARATIONS OF ZEV M.
                                                                        18                                                 SHECHTMAN AND HEATHER
                                                                                                                           ELIZABETH SAYDAH IN SUPPORT
                                                                        19                                                 THEREOF

                                                                        20                                                 DATE: TBD
                                                                                                                           TIME: TBD
                                                                        21                                                 PLACE: Courtroom “303”
                                                                                                                                  21041 Burbank Blvd,
                                                                        22                                                        Woodland Hills, California, 91367

                                                                        23

                                                                        24

                                                                        25

                                                                        26            TO THE HONORABLE MARTIN BARASH, UNITED STATES BANKRUPTCY

                                                                        27 JUDGE, THE DEBTOR, THE OFFICE OF THE UNITED STATES TRUSTEE, AND

                                                                        28 INTERESTED PARTIES:

                                                                             52992286.6
                                                                             391391-00001
                                                                       Case 1:24-bk-10646-MB          Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                 Desc
                                                                                                       Main Document    Page 2 of 26



                                                                         1            Saul Ewing, LLP (“Saul Ewing” or the “Applicant”), l ocal counsel to the Official

                                                                         2 Committee of Unsecured Creditors (“the “Committee”) of Synapse Financial Technologies,

                                                                         3 Inc. (the “Debtor”), hereby submits this First and Final Application for Final Compensation and

                                                                         4 Reimbursement of Expenses for the period from May 7, 2024 through September 5, 2024 (the

                                                                         5 “Application”), pursuant to section 330 of the Bankruptcy Code.

                                                                         6

                                                                         7                                                     I.

                                                                         8                                   INTRODUCTORY STATEMENT

                                                                         9            Local Bankruptcy Rule 2016-1(a) sets forth certain requirements that a professional must
                                                                        10 satisfy in order to obtain an award for fees and costs. Additional standards for the review of fee

                                                                        11 applications are set forth in the United States Trustee’s Guidelines for Reviewing Applications for
                 1888 CENTURY PARK EAST, SUITE 1500
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12 Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 (the “Compensation
SAUL EWING LLP




                                                                        13 Guidelines”). Cases interpreting sections 330 and 331 of the Bankruptcy Code have required that
                                                      (310) 255-6100




                                                                        14 courts consider the twelve factors that the Ninth Circuit Court of Appeals articulated in Kerr v.

                                                                        15 Screen Extras Guild, 526 F.2d 67, 70 (9th Cir. 1975), cert. denied, 425 U.S. 951, 96 S.Ct. 726

                                                                        16 (1976). The Ninth Circuit’s primary method used to determine the reasonableness of fees is to

                                                                        17 calculate the “lodestar.” In re Charles Russell Buckridge, Jr., 367 B.R. 191, 201 (C.D. Cal. 2007).

                                                                        18 The lodestar is ascertained by multiplying the number of hours reasonably expended by a

                                                                        19 reasonable hourly rate. Law Offices of David A. Boone v. Derham-Burk (In re Eliapo), 468 F.3d

                                                                        20 592, 598 (9th Cir. 2006). As set forth more fully herein, this Application complies with all

                                                                        21 statutory guidelines and Court requirements.

                                                                        22

                                                                        23                                                     II.

                                                                        24                                        BACKGROUND FACTS

                                                                        25            On April 22, 2024 (the “Petition Date”), the Debtor filed its voluntary Chapter 11 petition,

                                                                        26 schedules and statement of financial affairs. That same day, the Debtor filed an emergency motion

                                                                        27 for an order approving the sale of all its assets. In its sale motion, the Debtor represented that it is

                                                                        28 a technology company and “has proprietary technology and software which essentially allows

                                                                             52992286.6
                                                                             391391-00001                                       2
                                                                       Case 1:24-bk-10646-MB          Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                Desc
                                                                                                       Main Document    Page 3 of 26



                                                                         1 financial technology platforms called ‘fintechs’ to provide certain financial products and services

                                                                         2 to the fintechs’ customers (referred to as end users or depositors) through certain banking

                                                                         3 providers and financial technology providers.” Docket no. 8.

                                                                         4            However, the sale fell through and the Debtor allegedly ran out of funding. What followed

                                                                         5 was a disruption of services to the Debtor’s customers. This resulted in many end users being

                                                                         6 unable to access their funds.

                                                                         7            On May 1, 2024, the Office of the United States Trustee (“U.S. Trustee” or “OUST”)

                                                                         8 appointed Kroll Associates, Inc and Mercury Technologies, Inc. as the Official Committee of

                                                                         9 Unsecured Creditors (the “Committee”) pursuant to 11 U.S.C. § 1102. Subsequently, the
                                                                        10 Committee met and selected Boies Schiller Flexner, LLP as its lead counsel and on or about May

                                                                        11 7, 2024 the Committee selected Saul Ewing as its local counsel.
                 1888 CENTURY PARK EAST, SUITE 1500
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12            In light of the Debtor’s worsening situation and resulting challenges for creditors and end
SAUL EWING LLP




                                                                        13 users, on May 15, 2024, the U.S. Trustee filed a motion to convert or appoint a chapter 11 trustee.
                                                      (310) 255-6100




                                                                        14 Thereafter, the Court granted the U.S. Trustee’s request and appointed Jelena McWilliams as the

                                                                        15 Chapter 11 Trustee (the “Trustee”). The Trustee has retained her firm, Cravath, Swaine & Moore,

                                                                        16 LLP as her lead counsel, and Keller Benvenutti Kim, LLP as local and conflicts counsel.

                                                                        17            After careful consideration, in late August 2024, in light of the Trustee’s role advancing

                                                                        18 the interests of creditors and end users in what is presently an administratively insolvent

                                                                        19 bankruptcy estate, the Committee members submitted their resignations. On September 5, 2024,

                                                                        20 the U.S. Trustee filed a notice of dissolution of the Committee.

                                                                        21

                                                                        22                                                     III.

                                                                        23                                  EMPLOYMENT OF SAUL EWING

                                                                        24            On May 31, 2024, the Committee filed an Application of the Official Committee of

                                                                        25 Unsecured Creditors for Order Authorizing Employment of Boies Schiller Flexner LLP and Saul

                                                                        26 Ewing LLP as Bankruptcy Counsel Effective as of May 7, 2024. Docket No. 229.

                                                                        27            On July 3, 2024, the Court Entered its Order Approving Application of the Official

                                                                        28 Committee of Unsecured Creditors for Order Authorizing Employment of Boies Schiller Flexner

                                                                             52992286.6
                                                                             391391-00001                                       3
                                                                       Case 1:24-bk-10646-MB          Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                Desc
                                                                                                       Main Document    Page 4 of 26



                                                                         1 LLP and Saul Ewing LLP as Bankruptcy Counsel. Docket No. 303.

                                                                         2

                                                                         3                                                    IV.

                                                                         4                   SAUL EWING’S PREVIOUSLY FILED FEE APPLICATIONS

                                                                         5            This is Applicant’s first and final fee application. No retainer or other compensation has

                                                                         6 been paid to Applicant to date. There is no provision or agreement for payment to Applicant in

                                                                         7 this case, except from this estate in such sums as the Court may allow.

                                                                         8

                                                                         9                                                     V.
                                                                        10                                  SUMMARY OF COMPENSATION
                                                                        11            By this Application, Saul Ewing seeks entry of an order allowing compensation on a final
                 1888 CENTURY PARK EAST, SUITE 1500
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12 basis in the amount of $26,509.50 for reasonable and necessary fees for the period from May 7,
SAUL EWING LLP




                                                                        13 2024 to September 5, 2024 (the “Application Period”). Applicant requests all approved fees be
                                                      (310) 255-6100




                                                                        14 paid at this time on a final basis.

                                                                        15

                                                                        16                                                    VI.

                                                                        17                                          Disclosure of Retainer

                                                                        18            No retainer has been or was paid to Saul Ewing.

                                                                        19

                                                                        20                                                    VII.

                                                                        21                                Funds on Hand [LBR 2016-1(a)(1)(A)(iii)]

                                                                        22
                                                                                                   At this time, this information is not available to Applicant and the
                                                                        23
                                                                             Application will be supplemented once that information is received.
                                                                        24

                                                                        25

                                                                        26

                                                                        27

                                                                        28

                                                                             52992286.6
                                                                             391391-00001                                      4
                                                                       Case 1:24-bk-10646-MB          Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03               Desc
                                                                                                       Main Document    Page 5 of 26



                                                                         1                                                    VIII.

                                                                         2                                                  Exhibits

                                                                         3            The following exhibits in support of this application are attached:

                                                                         4        EXHIBIT                                           DESCRIPTION
                                                                         5                “1”     Detailed billing records of time spent by each professional for Applicant
                                                                                                  during the Application Period, including a breakdown by activity code
                                                                         6                        (includes Schedule of hourly rates for each professional rendering services
                                                                                                  in this case during the Application Period)
                                                                         7
                                                                                          “2”     Monthly summaries of fees incurred in this case during the Application
                                                                         8                        Period.
                                                                         9                “3”     Aggregate summaries of fees incurred in this case during the Application
                                                                                                  Period.
                                                                        10

                                                                        11                “4”     Detailed biographies of each professional employed by Applicant.
                 1888 CENTURY PARK EAST, SUITE 1500




                                                                                          “5”     Copy of order authorizing applicant’s employment as general counsel to the
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12
                                                                                                  Committee entered on July 3, 2024 (docket no. 303).
SAUL EWING LLP




                                                                        13
                                                      (310) 255-6100




                                                                        14

                                                                        15
                                                                                                                               IX.
                                                                        16
                                                                              NARRATIVE STATEMENT OF SERVICES RENDERED AND TIME EXPENDED [LBR
                                                                        17
                                                                                                                    2016-1(A)(1)(D) – (K)]
                                                                        18
                                                                                      Pursuant to the Compensation Guidelines and Local Bankruptcy Rule 2016-1(a)(1)(D),
                                                                        19
                                                                             Applicant has classified all services performed for which compensation is sought for the First and
                                                                        20
                                                                             Final Period into one of several major categories. Applicant attempted to place the services
                                                                        21
                                                                             performed in the category that best relates to the service provided. However, because certain
                                                                        22
                                                                             services may relate to more than one category, services pertaining to one category may in fact be
                                                                        23
                                                                             included in another category. The details of Applicant’s services in this case are set forth in
                                                                        24
                                                                             Exhibit “1.” Without limiting the detail provided in Exhibit “1,” Applicant provides the following
                                                                        25
                                                                             narrative summary:
                                                                        26
                                                                             A.       Meeting of Creditors (“B150”)
                                                                        27
                                                                                      Time in this category relates to communications and status updates with the Committee
                                                                        28

                                                                             52992286.6
                                                                             391391-00001                                       5
                                                                       Case 1:24-bk-10646-MB         Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                  Desc
                                                                                                      Main Document    Page 6 of 26



                                                                         1 regarding the progress of this case.

                                                                         2            In particular, Applicant conferred with the Committee on the Debtor’s Emergency Motion

                                                                         3 For an Order (A) Approving Sale of Substantially all of the Debtor’s Assets Free and Clear of all

                                                                         4 Liens, Claims, Encumbrances and Interests; (B) Approving of Debtor’s Assumption and

                                                                         5 Assignment of Certain Executory Contracts and Unexpired Leases and Determining Cure

                                                                         6 Amounts which was scheduled for hearing on May 9, 2024. Applicant prepared for and attended

                                                                         7 the hearing thereon and advised the Committee and lead counsel regarding its outcome. The

                                                                         8 hearing was continued to May 13, 2024 and subsequently continued to June 7, 2024. Applicant

                                                                         9 prepared for and attended both continued hearings via Zoom.
                                                                        10            Early in the engagement, Applicant worked with lead counsel to attempt negotiations with
                                                                        11 the Debtor and secured creditors. Applicant also communicated directly with the Debtor’s counsel
                 1888 CENTURY PARK EAST, SUITE 1500
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12 about the status of the case.
SAUL EWING LLP




                                                                        13            Applicant reviewed the docket and pleadings to monitor the status of the proceedings in
                                                      (310) 255-6100




                                                                        14 order to provide up to date information to the Committee.

                                                                        15            Applicant, together with lead counsel, had several video conferences and other
                                                                        16 communications with the Committee members throughout the engagement.

                                                                        17            During the Application Period, Saul Ewing expended 13.6 hours on this category valued
                                                                        18 at $9,860.00.

                                                                        19

                                                                        20 B.         Case Administration (“B110”)

                                                                        21            On or about May 24, 2024, the Court authorized the appointment of a Chapter 11 Trustee.

                                                                        22 The OUST appointed Jelena McWilliams as the Chapter 11 Trustee (“Trustee”). Applicant,

                                                                        23 together with lead counsel, discussed the case with the Trustee and provided the Trustee and her

                                                                        24 counsel with the Committee’s background and perspective. Applicant advised the Committee

                                                                        25 about its communications with the Trustee. On June 8, 2024, Applicant attended a video

                                                                        26 conference with the Trustee and the Committee to discuss the case.

                                                                        27            On behalf of the Committee, Applicant prepared for and attended status conferences via

                                                                        28 Zoom and advised the Committee and lead counsel of their outcomes.

                                                                             52992286.6
                                                                             391391-00001                                     6
                                                                       Case 1:24-bk-10646-MB          Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                Desc
                                                                                                       Main Document    Page 7 of 26



                                                                         1            Overall, Applicant had a number of video meetings and communications with the

                                                                         2 Committee members regarding the progress of the case.

                                                                         3            During the Application Period, Saul Ewing expended 12.30 hours on this category, valued at

                                                                         4 $8,803.50.

                                                                         5

                                                                         6 C.         Fee/Employment Application (“B160”)

                                                                         7            Applicant prepared its own employment application and the notice thereof. After the time

                                                                         8 passed for objections, Applicant reviewed the docket and prepared the declaration of non-opposition

                                                                         9 and lodged the order thereon, which was entered on or about July 3, 2024. Exhibit “5”.
                                                                        10            During the Application Period, Saul Ewing expended 19.30 hours on this category, valued at
                                                                        11 $7,846.00.
                 1888 CENTURY PARK EAST, SUITE 1500
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12
SAUL EWING LLP




                                                                        13                                                     X.
                                                      (310) 255-6100




                                                                        14                                    Summary of Fees by Professionals

                                                                        15            The following is a summary of the fees for each professional who rendered services in this

                                                                        16 case:

                                                                        17                                           Normal Hourly Billing                       Extension
                                                                                          Attorneys        Year         Rate (at time of         Hours         (hours x rate)
                                                                        18
                                                                                                            of             services)
                                                                        19                                Service
                                                                              Zev Shechtman                2024             $725.00              28.10          $20,372.50
                                                                        20    Ryan Coy                     2024             $385.00                .1             $38.50
                                                                        21    Lucian Murley                2024             $645.00               1.0            $645.00
                                                                                     Paralegals
                                                                        22    Shelly Guise                 2024             $345.00               14.1           $4,864.50
                                                                        23    Karla S. Hernandez           2024             $310.00                1.9            $589.00
                                                                              Paulin
                                                                        24    Total                                                              45.20          $26,509.50
                                                                        25            The rates provided are the normal hourly rates that Applicant charges to its regularly
                                                                        26 paying non-bankruptcy clients for similar services. The blended hourly rate for Applicant’s

                                                                        27 attorneys who rendered services for the Committee is $721.10, the blended rate for all

                                                                        28 professionals is $586.49.

                                                                             52992286.6
                                                                             391391-00001                                       7
                                                                       Case 1:24-bk-10646-MB          Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                 Desc
                                                                                                       Main Document    Page 8 of 26



                                                                         1                                                     XI.

                                                                         2                              Factors Affecting the Award of Compensation

                                                                         3            This is currently an administratively insolvent case. Despite uncertainty of payment,

                                                                         4 Applicant became engaged to assist the Committee in its role for the benefit of the unsecured

                                                                         5 creditors.

                                                                         6            Applicant did not receive a retainer payment when it accepted employment in this case.

                                                                         7 Applicant truly accepted this engagement on a contingency basis. Nevertheless, Applicant took

                                                                         8 prompt action and performed vital and important services in this case, all of which were necessary

                                                                         9 and of value to the estate.
                                                                        10            Applicant has utilized its experience and expertise in this case in a variety of matters and
                                                                        11 issues including representing debtors, creditors, committees and trustees. Applicant, and each of
                 1888 CENTURY PARK EAST, SUITE 1500
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12 its partners and associates who rendered services to the Committee, specializes in the areas of
SAUL EWING LLP




                                                                        13 insolvency, commercial law and reorganization.
                                                      (310) 255-6100




                                                                        14            Resumes for the professionals who rendered services for the Committee in this case are
                                                                        15 contained in the attached Exhibit “4.”

                                                                        16

                                                                        17                                                     XII.

                                                                        18                                       No Sharing of Compensation

                                                                        19            No agreement, directly or indirectly, and no understanding exists for a division of any

                                                                        20 compensation awarded herein between Applicant and any other persons contrary to the provisions

                                                                        21 of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, or applicable

                                                                        22 provisions of state law.

                                                                        23

                                                                        24                                                    XIII.

                                                                        25                          Compliance with Guidelines of United States Trustee

                                                                        26            Applicant’s records for time and costs billed to the Committee are maintained in the format

                                                                        27 required by Guidelines of the Office of the United States Trustee, except that costs could not be

                                                                        28 attributed to separate activity codes under Applicant’s computerized billing system for most of the

                                                                             52992286.6
                                                                             391391-00001                                       8
                                                                       Case 1:24-bk-10646-MB         Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03             Desc
                                                                                                      Main Document    Page 9 of 26



                                                                         1 Application Period. As indicated by the attached declaration, the Committee has reviewed, and

                                                                         2 has no unresolved concerns about, this Application.

                                                                         3

                                                                         4                                                    XIV.

                                                                         5                                                    Prayer

                                                                         6            WHEREFORE, Applicant requests that the Court award it, on a final basis, fees totaling

                                                                         7 $26,509.50 incurred during the Application Period. Applicant also requests that the Court

                                                                         8 authorize the Debtor to pay Applicant its approved, but unpaid fees, on a final basis. Applicant

                                                                         9 further prays for all other appropriate relief.
                                                                        10

                                                                        11 DATED: October 9, 2024                       SAUL EWING LLP
                 1888 CENTURY PARK EAST, SUITE 1500
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12
SAUL EWING LLP




                                                                        13
                                                                                                                        By:          /s/ Zev Shechtman
                                                      (310) 255-6100




                                                                        14                                                    ZEV SHECHTMAN
                                                                                                                              Attorneys for The Official Committee of
                                                                        15                                                    Unsecured Creditors
                                                                        16

                                                                        17

                                                                        18

                                                                        19

                                                                        20

                                                                        21

                                                                        22

                                                                        23

                                                                        24

                                                                        25

                                                                        26

                                                                        27

                                                                        28

                                                                             52992286.6
                                                                             391391-00001                                      9
                                                                       Case 1:24-bk-10646-MB         Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                  Desc
                                                                                                     Main Document     Page 10 of 26



                                                                         1                               DECLARATION OF ZEV M. SHECHTMAN

                                                                         2            I, Zev M. Shechtman, declare as follows:

                                                                         3            1.     I am an attorney, duly licensed and entitled to practice law in the State of California

                                                                         4 and before this Court. I am a principal of a professional corporation that is a partner in the law

                                                                         5 firm of Saul Ewing, LLP (“Saul Ewing”), the duly employed attorneys for the Official Creditors’

                                                                         6 Committee in this case.

                                                                         7            2.     I have personal knowledge of the facts in this declaration and, if called as a witness,

                                                                         8 could testify competently to these facts.

                                                                         9            3.     I have reviewed the within First and Final Application for Award of
                                                                        10 Compensation and Reimbursement of Expenses of Saul Ewing, LLP as General Counsel for the

                                                                        11 Official Committee of Unsecured Creditors (the “Application”). The facts stated therein are true of
                 1888 CENTURY PARK EAST, SUITE 1500
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12 my own knowledge, except such matters as may be stated upon information or belief, which I
SAUL EWING LLP




                                                                        13 believe to be true.
                                                      (310) 255-6100




                                                                        14            4.     I believe that Applicant’s records for time billed comply with the format required

                                                                        15 by the Guidelines of the Office of the United States Trustee, except as disclosed and justified in

                                                                        16 the application.

                                                                        17            5.     I have reviewed the requirements of Local Bankruptcy Rule 2016-1 and believe

                                                                        18 that the application complies with that rule.

                                                                        19

                                                                        20            Executed on October 9, 2024, at Los Angeles, California.

                                                                        21

                                                                        22

                                                                        23                                                             /s/ Zev M. Shechtman
                                                                                                                                    ____________________________
                                                                                                                                    Zev M. Shechtman
                                                                        24

                                                                        25

                                                                        26

                                                                        27

                                                                        28

                                                                             52992286.6
                                                                             391391-00001                                      10
Case 1:24-bk-10646-MB   Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03   Desc
                        Main Document     Page 11 of 26
Case 1:24-bk-10646-MB   Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03   Desc
                        Main Document     Page 12 of 26




                        EXHIBIT 1
                          Case 1:24-bk-10646-MB        Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                                      Desc
                                                       Main Document     Page 13 of 26

                                         emails and conferences with committee counsel and finalize notice of appearance and limited
5/8/2024    Shechtman, Zev M.   B110_2                                                                                                     $725.00    2.50   $1,812.50
                                         objection re sale
5/9/2024    Shechtman, Zev M.   B110_2   t/c with B. Sharp re potential case                                                               $725.00    0.20    $145.00
5/9/2024    Shechtman, Zev M.   B110_2   attend hearing on sale motion                                                                     $725.00    1.00    $725.00
5/9/2024    Shechtman, Zev M.   B110_2   teleconference with lead counsel re status hearing today                                          $725.00    0.40    $290.00
5/9/2024    Shechtman, Zev M.   B110_2   t/c with B. Sharp re potential trustee position                                                   $725.00    0.20    $145.00
5/9/2024    Shechtman, Zev M.   B110_2   exchange emails with lead committee counsel                                                       $725.00    0.20    $145.00
5/9/2024    Shechtman, Zev M.   B110_2   emails re continued hearing                                                                       $725.00    0.20    $145.00
5/9/2024    Shechtman, Zev M.   B110_2   review and reply to emails re case status                                                         $725.00    0.10     $72.50
5/10/2024   Shechtman, Zev M.   B110_2   exchange emails with F. Merola re conversion of case                                              $725.00    0.20    $145.00
5/10/2024   Murley, Lucian B.   B110_2   Review docket of chapter 11 case, including cash collateral briefing and sale motion              $645.00    1.00    $645.00
5/10/2024   Shechtman, Zev M.   B110_2   review pleadings                                                                                  $725.00    0.20    $145.00
5/12/2024   Shechtman, Zev M.   B110_2   review pleadings re case updates                                                                  $725.00    0.40    $290.00
5/13/2024   Shechtman, Zev M.   B110_2   t/c R. Clementson re status                                                                       $725.00    0.20    $145.00
5/13/2024   Shechtman, Zev M.   B110_2   zoom with debtor's counsel re status of case                                                      $725.00    0.50    $362.50
5/13/2024   Shechtman, Zev M.   B110_2   conf with P. Glassman re status of case                                                           $725.00    0.50    $362.50
5/13/2024   Shechtman, Zev M.   B110_2   review and reply to multiple emails re appointment of trustee                                     $725.00    0.40    $290.00
5/14/2024   Shechtman, Zev M.   B110_2   videoconf with Trustee and Trustee staff, Kroll and J. Kucera re case background and issues       $725.00    1.00    $725.00
5/14/2024   Shechtman, Zev M.   B110_2   debrief zoom with P. Parizek re meeting with trustee                                              $725.00    0.20    $145.00
5/18/2024   Shechtman, Zev M.   B110_2   conf with L. Murley re meeting with trustee                                                       $725.00    0.10     $72.50
5/18/2024   Shechtman, Zev M.   B110_2   review email from B. Waisbren to trustee's counsel                                                $725.00    0.10     $72.50
5/20/2024   Shechtman, Zev M.   B110_2   attend status conference (via zoom)                                                               $725.00    1.30    $942.50
5/20/2024   Shechtman, Zev M.   B110_2   review and reply to emails from B. Waisbren re status conference and case status                  $725.00    0.20    $145.00
5/20/2024   Shechtman, Zev M.   B110_2   monitor status conference                                                                         $725.00    1.00    $725.00
5/20/2024   Shechtman, Zev M.   B110_2   exchange emails with lead counsel re hearing                                                      $725.00    0.10     $72.50
5/20/2024   Coy, Ryan           B110_2   Discuss and strategize with Z. Shechtman, S. Guise, and H. Richmond re status and plan for case   $385.00    0.10     $38.50
                                                                                                      Subtotal for Case Administration               12.30   $8,803.50

5/20/2024   Shechtman, Zev M.   B150_2   t/c with B. Waisbren and committee re case strategy                                               $725.00    0.90    $652.50
5/20/2024   Shechtman, Zev M.   B150_2   follow up with B. Waisbren re committee strategy                                                  $725.00    0.50    $362.50
5/20/2024   Shechtman, Zev M.   B150_2   exchange emails with B. Waisbren re strategy re chapter 11 and litigation                         $725.00    0.60    $435.00
5/20/2024   Shechtman, Zev M.   B150_2   multiple calls with R. Bender re negotiations with debtor and secured creditors                   $725.00    0.60    $435.00
5/21/2024   Shechtman, Zev M.   B150_2   multiple calls with B. Waisbren re negotiations with debtor and secured creditors                 $725.00    0.80    $580.00
5/21/2024   Shechtman, Zev M.   B150_2   attend continued cash collateral and Evolve emergency motion hearing                              $725.00    2.20   $1,595.00
5/21/2024   Shechtman, Zev M.   B150_2   attempt call with R. Bender re status of discussions                                              $725.00    0.10      $72.50
5/21/2024   Shechtman, Zev M.   B150_2   review NEF re emergency motion filed by evolve and draft email to lead counsel re same            $725.00    0.10      $72.50
5/22/2024   Shechtman, Zev M.   B150_2   zoom hearing re emergency motions                                                                 $725.00    1.20    $870.00
5/22/2024   Shechtman, Zev M.   B150_2   conferences with L. Murley and B. Waisbren re next steps in committee case                        $725.00    0.80    $580.00
5/23/2024   Shechtman, Zev M.   B150_2   prepare agenda for committee meeting                                                              $725.00    0.10      $72.50
5/24/2024   Shechtman, Zev M.   B150_2   email R. Bender re status                                                                         $725.00    0.10      $72.50
5/24/2024   Shechtman, Zev M.   B150_2   committee meeting                                                                                 $725.00    0.60    $435.00
5/24/2024   Shechtman, Zev M.   B150_2   email committee re call with Russ                                                                 $725.00    0.10      $72.50
5/25/2024   Shechtman, Zev M.   B150_2   review ex parte communications filed by court and email committee re same                         $725.00    0.20    $145.00
5/25/2024   Shechtman, Zev M.   B150_2   t/c with J. Kucera re hearing and email re same                                                   $725.00    0.20    $145.00
5/25/2024   Shechtman, Zev M.   B150_2   attend court hearing                                                                              $725.00    1.50   $1,087.50



                                                                            Exhibit 1
                                                                               12
                            Case 1:24-bk-10646-MB                      Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                                           Desc
                                                                       Main Document     Page 14 of 26

5/26/2024   Shechtman, Zev M.           B150_2          draft email to committee re conference with trustee                                                     $725.00        0.20         $145.00
5/27/2024   Shechtman, Zev M.           B150_2          review emails from committee and B. Waisbren re status of case                                          $725.00        0.10          $72.50
5/30/2024   Shechtman, Zev M.           B150_2          attend video conf with committee and trustee teams                                                      $725.00        0.60         $435.00
6/3/2024    Shechtman, Zev M.           B150_2          review and reply to email from B. Waisbren re case status                                               $725.00        0.10          $72.50
6/5/2024    Shechtman, Zev M.           B150_2          review cash collateral order and draft email to B. Waisbren and J. Kucera re challenge deadline         $725.00        0.20         $145.00
6/8/2024    Shechtman, Zev M.           B150_2          conf with B. Waisbren and J. Kucera re strategy re committee                                            $725.00        0.40         $290.00
6/10/2024   Shechtman, Zev M.           B150_2          committee meeting                                                                                       $725.00        0.60         $435.00
6/10/2024   Shechtman, Zev M.           B150_2          committee call                                                                                          $725.00        0.70         $507.50
6/14/2024   Shechtman, Zev M.           B150_2          conf with B. Waisbren re status and email R. Clementson re same                                         $725.00        0.10           $72.50
                                                                                                                     Subtotal for Meeting of Creditors                        13.60        $9,860.00

6/24/2024   Guise, Shelly              B160_2            Conference with ZS re employment application                                                            $345.00       0.10           $34.50
7/3/2024    Shechtman, Zev M.          B160_2            draft email to K. Paulin re employment app                                                              $725.00       0.10           $72.50
7/3/2024    Shechtman, Zev M.          B160_2            t/c with K. Paulin re employment app                                                                    $725.00       0.20         $145.00
7/31/2024   Hernandez Paulin,
                          Review
                              Karla
                                 application
                                    S. B160_2of the official committees of unsecured creditors in preparation to draft an application of the official committees $310.00
                                                                                                                                                                 of unsecured creditors
                                                                                                                                                                               0.40         $124.00
8/1/2024    Hernandez Paulin, Karla S. B160_2            Draft an application of the official committees of unsecured creditors                                  $310.00       0.80         $248.00
8/8/2024    Shechtman, Zev M.          B160_2            review and revise employment app                                                                        $725.00       0.90         $652.50
8/13/2024   Hernandez Paulin, Karla S. B160_2            Revise bankruptcy employment application                                                                $310.00       0.70         $217.00
8/30/2024   Shechtman, Zev M.          B160_2            review and revise employment application and email B. Waisbren re same                                  $725.00       0.60         $435.00
9/3/2024    Shechtman, Zev M.          B160_2            finalize employment application and email Boies re same                                                 $725.00       0.40         $290.00
9/3/2024    Shechtman, Zev M.          B160_2            prepare employment order                                                                                $725.00       0.20         $145.00
9/3/2024    Shechtman, Zev M.          B160_2            conf with S. Guise re fee app                                                                           $725.00       0.10           $72.50
9/5/2024    Guise, Shelly              B160_2            Edit August 2024 prebill                                                                                $345.00       0.40         $138.00
9/6/2024    Guise, Shelly              B160_2            Edit time entries from inception through July 2024 in compliance with OUST Guidelines                   $345.00       1.10         $379.50
9/6/2024    Guise, Shelly              B160_2            Begin draft of final fee application                                                                    $345.00       0.90         $310.50
9/9/2024    Shechtman, Zev M.          B160_2            conf with S. Panta re status of case                                                                    $725.00       0.10           $72.50
9/9/2024    Guise, Shelly              B160_2            Continue drafting final fee application                                                                 $345.00       3.40        $1,173.00
9/10/2024   Guise, Shelly              B160_2            Continue editing final fee application                                                                  $345.00       2.60         $897.00
9/11/2024   Guise, Shelly              B160_2            continue editing final fee application                                                                  $345.00       1.40         $483.00
9/12/2024   Guise, Shelly              B160_2            revise final fee application                                                                            $345.00       1.50         $517.50
9/18/2024   Shechtman, Zev M.          B160_2            review and revise Saul Ewing fee application                                                            $725.00       0.70         $507.50
9/19/2024   Guise, Shelly              B160_2            revise final fee application                                                                            $345.00       0.90         $310.50
9/19/2024   Guise, Shelly              B160_2            Finalize fee application; prepare exhibits                                                              $345.00       1.80         $621.00
                                                                                                              Subtotal for Fee/Employment Applications                        19.30        $7,846.00


                                                                                                                                         Attorneys Fees                   45.20 HRS       $26,509.50


                                                                                                    Rates:
                                                                                       Zev Shechtman            $725.00
                                                                                       Ryan Coy                $385.00
                                                                                       Murley, Lucian B.        $645.00
                                                                                       Shelly Guise             $345.00
                                                                                       Hernandez Paulin, Karla S.    $310.00



                                                                                            Exhibit 1
                                                                                               13
Case 1:24-bk-10646-MB   Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03   Desc
                        Main Document     Page 15 of 26




                        EXHIBIT 2
Case 1:24-bk-10646-MB            Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                  Desc
                                 Main Document     Page 16 of 26




Synapse Financial Technologies




                                     May-24
                                               Attorney Fees                23.8 HRS             $17,141.00

Case Administration ("CA")(B110)
                                               Zev Shechtman                     11.2 $725.00     $8,120.00
                                               Lucian Murley                        1 $645.00      $645.00
                                               Ryan Coy                           0.1 $385.00        $38.50

Total Hours and Fee                                                              12.3             $8,803.50

Meeting of Creditors ("MC")(B150)              Zev Shechtman                     11.5 $725.00     $8,337.50

Total Hours and Fee                                                              11.5             $8,337.50

                                      Jun-24                                2.2 HRS               $1,557.00

Meeting of Creditors ("MC")(B150)              Zev Shechtman                      2.1 $725.00     $1,522.50
Fee/Employment Applications                    Shelly Guise                       0.1 $345.00        $34.50

Total Hours and Fee                                                               2.2             $1,557.00

                                     Jul-24                                 0.7 HRS                $341.50
Fee/Employment Applications ("FA")(B160) Zev Shechtman                             0.3 $725.00     $217.50
                                            Hernandez Paulin, Karla S.             0.4 $310.00     $124.00

Total Hours and Fee                                                               0.7              $341.50

                                     Aug-24                                 3.0 HRS               $1,552.50

Fee/Employment Applications ("FA"(B160)        Hernandez Paulin, Karla S.         1.5 $310.00      $465.00
                                               Zev Shechtman                      1.5 $725.00     $1,087.50

Total Hours and Fee                                                                    3          $1,552.50

                                    Sep-24                                  15.50 HRS             $5,917.50
Fee/Employment Applications ("FA")(B160) Zev Shechtman                             1.5 $725.00    $1,087.50
                                           Shelly Guise                            14 $345.00     $4,830.00

Total Hours and Fee                                                              15.5             $5,917.50




                                                Exhibit 2
                                                   14
Case 1:24-bk-10646-MB   Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03   Desc
                        Main Document     Page 17 of 26




                        EXHIBIT 3
            Case 1:24-bk-10646-MB    Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03   Desc
                                     Main Document     Page 18 of 26




Synapse Technologies




Case Administration           Zev Shechtman                      11.2         $725.00           $8,120.00
                              Ryan Coy                            0.1         $385.00              $38.50
                              Lucian Murley                         1         $645.00             $645.00
Total Hours and Fee                                              12.3                           $8,803.50


Meeting of Creditors          Zev Shechtman                      13.6         $725.00           $9,860.00


Total Hours and Fee                                              13.6                           $9,860.00


Fee/Employment Applications   Zev Shechtman                       3.3         $725.00           $2,392.50
                              Shelly Guise                       14.1         $345.00           $4,864.50
                              Hernandez Paulin, Karla S.          1.9         $310.00             $589.00
Total Hours and Fee                                              19.3                           $7,846.00


                              Current Fees                                                     $26,509.50




                                                     Exhibit 3
                                                        15
Case 1:24-bk-10646-MB   Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03   Desc
                        Main Document     Page 19 of 26




                        EXHIBIT 4
 Case 1:24-bk-10646-MB         Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03               Desc
                               Main Document     Page 20 of 26




                              PROFESSIONAL BIOGRAPHIES

                                            Partners


Zev Shechtman is a partner with Saul Ewing LLP. Mr. Shechtman was admitted to the
California Bar in 2009. He is admitted to practice in the Central District of California. His
educational background is as follows: University of California at Santa Cruz (B.A., 2003); New
York University (M.A., 2006); University of Southern California School of Law (J.D., 2009).
While a law student at the University of Southern California, Mr. Shechtman served as
Managing Editor of the Southern California Review of Law & Social Justice. Mr. Shechtman
served as an extern for the Honorable Thomas B. Donovan of the United States Bankruptcy
Court for the Central District of California in the Summer of 2007. Mr. Shechtman served as
2021-2022 President of the Los Angeles Bankruptcy Forum, where he helped found the
Diversity, Equity & Inclusion Committee for the organization. Mr. Shechtman is a former chair
of the Bankruptcy Section of the Beverly Hills Bar Association. Mr. Shechtman is an editorial
board member of the California Bankruptcy Journal and the California Lawyers Association’s
Business Law News.

Lucian Murley is a partner with Saul Ewing, LLP. He was admitted to the Delaware bar on
December 15, 2006, the Pennsylvania bar on July 26, 2005, and the New Jersey bar in 2005. He
has substantial experience representing debtors, committees, acquirers, fiduciaries, and other
significant parties in interest in complex reorganizations and financially distressed situations,
both in and out of court. Luke regularly advises financially healthy businesses that find
themselves creditors in chapter 11 cases. He has represented creditors serving on official
committees. Luke has extensive experience in litigating matters in bankruptcy courts throughout
the country.



                                           Associates


Ryan Coy is an associate with Saul Ewing in the Firm’s bankruptcy and litigation departments.
He obtained his B.S. in Law & Economics and Political Science from Central Michigan
University in 2015 and his Juris Doctor, magna cum laude, from Michigan State University
College of Law in May 2018, also earning a litigation concentration certificate. After law school,
he served as a Law Clerk to the Honorable Scott H. Yun and the Honorable Deborah J. Saltzman,
both judges of the United States Bankruptcy Court for the Central District of California. Mr.
Coy was admitted to the State Bar of California in January 2019. Mr. Coy was selected as a
“Rising Star” in bankruptcy law by Thomson Reuters in 2023 and 2024, and he was selected by
Best Lawyers: Ones to Watch in America for 2024 and 2025 in bankruptcy, creditor-debtor
rights and reorganization law, and commercial litigation.




                                             Exhibit 4
                                                16
Case 1:24-bk-10646-MB       Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03              Desc
                            Main Document     Page 21 of 26



                                         Paralegals

Aracelli (Shelly) Guise is a bankruptcy paralegal with Saul Ewing LLP. She received her
Bachelor of Arts degree from the University of California at Los Angeles in 1992 and her
paralegal certificate from the University of California at Los Angeles’ Extension Program in
1994. Ms. Guise worked for 30 years at a boutique bankruptcy firm assisting in house Chapter 7
Trustees.




                                           Exhibit 4
                                              17
Case 1:24-bk-10646-MB   Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03   Desc
                        Main Document     Page 22 of 26




                        EXHIBIT 5
                                                      Case 1:24-bk-10646-MB                          Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                          Desc
                                                                                                     Main Document     Page 23 of 26
                                                                       Case 1:24-bk-10646-MB         Doc 303 Filed 07/03/24 Entered 07/03/24 07:30:48                   Desc
                                                                                                      Main Document     Page 1 of 2



                                                                         1 ZEV SHECHTMAN (Cal. Bar No. 266280)
                                                                           Zev.Shechtman@saul.com
                                                                         2 CAROL CHOW (Cal. Bar No. 169299)
                                                                           carol.chow@saul.com                                               FILED & ENTERED
                                                                         3 SAUL EWING LLP
                                                                           1888 Century Park East, Suite 1500
                                                                         4 Los Angeles, California 90067                                           JUL 03 2024
                                                                           Telephone: (310) 255-6100
                                                                         5 Facsimile: (310) 255-6200                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                                                              Central District of California
                                                                                                                                              BY Cetulio DEPUTY CLERK
                                                                         6
                                                                           BENJAMIN WAISBREN (pro hac vice admission pending)
                                                                         7 bwaisbren@bsfllp.com
                                                                           JOHN KUCERA (Cal. Bar No. 274184)
                                                                         8 jkucera@bsfllp.com
                                                                           BOIES SCHILLER FLEXNER LLP
                                                                         9 1401 New York Avenue, N.W.
                                                                           Washington, DC 20005
                                                                        10 Telephone: (202) 274-1122
                                                                        11 Proposed Attorneys for Official Unsecured
                 1888 CENTURY PARK EAST, SUITE 1500




                                                                           Creditors’ Committee of Synapse Financial
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12 Technologies, Inc.
SAUL EWING LLP




                                                                        13
                                                      (310) 255-6100




                                                                        14                             UNITED STATES BANKRUPTCY COURT

                                                                        15        CENTRAL DISTRICT OF CALIFORNIA, SAN FERNANDO VALLEY DIVISION

                                                                        16
                                                                        17 In re                                                Case No. 1:24-bk-10646-MB
                                                                        18 SYNAPSE FINANCIAL TECHNOLOGIES,                      Chapter 11
                                                                           INC.,
                                                                        19                                                      ORDER APPROVING APPLICATION OF
                                                                                      Debtor.                                   THE OFFICIAL COMMITTEE OF
                                                                        20                                                      UNSECURED CREDITORS FOR ORDER
                                                                                                                                AUTHORIZING EMPLOYMENT OF
                                                                        21                                                      BOIES SCHILLER FLEXNER LLP AND
                                                                                                                                SAUL EWING LLP AS BANKRUPTCY
                                                                        22                                                      COUNSEL
                                                                        23            The Court having read and considered the application (the “Application”), pursuant to

                                                                        24 sections 327 and 330 of title 11 of the United States Code, and in accordance with Rule 2014(a) of

                                                                        25 the Federal Rules of Bankruptcy Procedure and Local Bankruptcy Rule 2014-1(b), for an order
                                                                        26 authorizing the Committee to employ the law firms Boies Schiller Flexner LLP (“Boies Schiller
                                                                        27 Flexner”) and Saul Ewing LLP (“Saul Ewing”) as the Committee’s counsel in the above-captioned
                                                                        28 Chapter 11 case, effective as of May 7, 2024; having reviewed and considered the evidence in

                                                                             52532626.1
                                                                             391391-00001


                                                                                                                    Exhibit 5
                                                                                                                       18
                                               Case 1:24-bk-10646-MB                               Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                   Desc
                                                                                                   Main Document     Page 24 of 26
                                                                       Case 1:24-bk-10646-MB         Doc 303 Filed 07/03/24 Entered 07/03/24 07:30:48            Desc
                                                                                                      Main Document     Page 2 of 2



                                                                         1 support of the Application; notice of the Application being adequate and proper; no opposition to
                                                                         2 the Application having been filed; and good cause appearing therefor; it is hereby
                                                                         3            ORDERED THAT:

                                                                         4            1.     The Application is approved.

                                                                         5            2.     The Committee is authorized to employ Boies Schiller Flexner and Saul Ewing as

                                                                         6 its counsel pursuant to 11 U.S.C. § 327(a), effective as of May 7, 2024, with compensation and

                                                                         7 reimbursement of expenses to be paid as an administrative expense in such amounts as this Court
                                                                         8 may hereafter allow pursuant to 11 U.S.C. §§ 330 and 331
                                                                         9                                                  ####

                                                                        10
                                                                        11
                 1888 CENTURY PARK EAST, SUITE 1500
                   LOS ANGELES, CALIFORNIA 90067




                                                                        12
SAUL EWING LLP




                                                                        13
                                                      (310) 255-6100




                                                                        14
                                                                        15
                                                                        16
                                                                        17
                                                                        18

                                                                        19
                                                                        20
                                                                        21
                                                                        22
                                                                        23
                                                                             Date: July 3, 2024
                                                                        24

                                                                        25
                                                                        26
                                                                        27
                                                                        28

                                                                             52532626.1
                                                                             391391-00001                                     2

                                                                                                                  Exhibit 5
                                                                                                                     19
       Case 1:24-bk-10646-MB                      Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                                      Desc
                                                  Main Document     Page 25 of 26



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Saul Ewing LLP, 1888 Century Park East, Suite 1500, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): First and Final Application of Saul Ewing LLP as
Local Counsel for the Official Committee of Unsecured Creditors for Compensation and Reimbursement of
Expenses for the Period May 7, 2024 Through September 5, 2024; Declarations of Zev M. Shechtman and Heather
Elizabeth Saydah in Support Thereof will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 9, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) October 9, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Debtor
Synapse Financial Technologies, Inc.
21255 Burbank Boulevard
Suite 120
Woodland Hills, CA 91367


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 9, 2024                    Hannah Richmond                                             /s/ Hannah Richmond
 Date                                 Printed Name                                              Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 1:24-bk-10646-MB                     Doc 403 Filed 10/09/24 Entered 10/09/24 15:26:03                                      Desc
                                                  Main Document     Page 26 of 26


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

    •   Raymond O Aghaian raghaian@kilpatricktownsend.com,
        ndelman@kilpatricktownsend.com;moroberts@ktslaw.com;tmeyers@ktslaw.com;jbusche@ktslaw.com
    •   Ron Bender rb@lnbyg.com
    •   David A Berkley david.berkley@wbd-us.com, mary.koo@wbd-us.com;Sul.Lee@wbd-us.com
    •   J Scott Bovitz bovitz@bovitz-spitzer.com
    •   Rudy J Cerone rcerone@mcglinchey.com, lgraff@mcglinchey.com;jingargiola@mcglinchey.com
    •   Sara Chenetz schenetz@perkinscoie.com,
        docketLA@perkinscoie.com;cmallahi@perkinscoie.com;jkulow@perkinscoie.com;chenetz-sara-perkins-coie-
        8670@ecf.pacerpro.com;rleibowitz@perkinscoie.com
    •   Russell Clementson russell.clementson@usdoj.gov
    •   Andrew Michael Cummings andrew.cummings@hklaw.com,
        philip.dobbs@hklaw.com;hapi@hklaw.com;reena.kaur@hklaw.com
    •   Michael G. Farag mfarag@gibsondunn.com
    •   Paul R. Glassman pglassman@stradlinglaw.com
    •   Nicholas Christian Glenos cglenos@bradley.com
    •   Michael H Goldstein mgoldstein@goodwinprocter.com, ASchaefer@goodwinlaw.com
    •   Michael I. Gottfried mgottfried@elkinskalt.com,
        cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
    •   Steven T Gubner sgubner@bg.law, ecf@bg.law
    •   Ralph P Guenther rguenther@guentherlawgroup.com
    •   Robert T. Honeywell robert.honeywell@klgates.com
    •   Lance N Jurich ljurich@loeb.com,
        pmatsuda@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com;fmckeown@loeb.com
    •   Jane Kim jkim@kellerbenvenutti.com
    •   Monica Y Kim myk@lnbyg.com, myk@ecf.inforuptcy.com
    •   Jeffrey C Krause jkrause@gibsondunn.com, dtrujillo@gibsondunn.com;jstern@gibsondunn.com
    •   William J Levant wlevant@kaplaw.com, wlevant@gmail.com
    •   Adam A Lewis alewis@mofo.com, adam-lewis-3473@ecf.pacerpro.com
    •   Jelena McWilliams (TR) jmcwilliams@cravath.com, mao@cravath.com
    •   Krikor J Meshefejian kjm@lnbyg.com
    •   Fred Neufeld fneufeld@stradlinglaw.com, tingman@sycr.com
    •   Valerie Bantner Peo vbantnerpeo@buchalter.com
    •   David M Poitras dpoitras@bg.law
    •   Jeremy V Richards jrichards@kbkllp.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
    •   Holly Roark holly@roarklawboise.com, RoarkLawOffices@jubileebk.net
    •   Paul M Rosenblatt prosenblatt@kilpatricktownsend.com, moroberts@ktslaw.com
    •   Thomas B Rupp trupp@kbkllp.com
    •   Brandy A Sargent brandy.sargent@klgates.com, litigation.docketing@klgates.com;janna.leasy@klgates.com
    •   Callan C Searcy bk-csearcy@texasattorneygeneral.gov
    •   Zev Shechtman Zev.Shechtman@saul.com, zshechtman@ecf.inforuptcy.com;hannah.richmond@saul.com
    •   Jason D Strabo jstrabo@mwe.com, jbishopjones@mwe.com
    •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
    •   Jeffrey C Wisler jwisler@connollygallagher.com, dperkins@connollygallagher.com
    •   Claire K Wu claire.wu@pillsburylaw.com, renee.evans@pillsburylaw.com;docket@pillsburylaw.com
    •   Beth Ann R. Young bry@lnbyg.com, bry@lnbyb.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
